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1                                                       Judge Franklin D. Burgess
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7                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
8                                      AT TACOMA
9    UNITED STATES OF AMERICA,        )                 No. CR06-5528FDB
                                      )
10                         Plaintiff, )                 ORDER GRANTING
                                      )                 GOVERNMENT’S UNOPPOSED
11               v.                   )                 MOTION FOR PRE-TRIAL
                                      )                 DEPOSITION OF MILITARY
12   TIGRA J.A. ROBERTSON,            )                 WITNESSES
                                      )
13                         Defendant. )
     ________________________________ )
14

15           Before this Court is the Government’s Unopposed Motion for Pre-Trial Deposition
16   of Jamie Spence and Aaron Figel.
17           The Court, after a consideration of all relevant information and the circumstances
18   of this case, and based upon the facts set forth in the Government’s motion, which are
19   hereby incorporated by reference and adopted as findings of fact, finds that the interest of
20   justice would be served by the granting of the Government’s motion.
21           The Government and the defendant shall conduct the video deposition in a
22   courtroom at the United States Courthouse in Tacoma, the United States Attorney’s
23   Office in Tacoma, or at another location agreed to be the parties, at a time convenient for
24   the parties and the witnesses, but in any event no later than June 28, 2007, unless all
25   parties shall agree to a later date.
26           Counsel for Tigra J.A. Robertson shall be allowed to attend the deposition and ask
27   questions. Defense counsel may also bring support staff. If the witnesses obtain counsel,
28


     [PROPOSED] ORDER/Motion for Pre-Trial Deposition                             UNITED STATES ATTORNEY
                                                                                   601 UNION STREET, SUITE 5100
     United States v. Robertson — 1                                              SEATTLE, WASHINGTON 98101-3903
     Case No. CR06-5528FDB                                                                (206) 553-7970
             Case 3:06-cr-05528-BHS         Document 229   Filed 06/18/07    Page 2 of 2



1    they may also attend the deposition. The Government may also have support staff and
2    investigative agents present at the deposition.
3            The Government will make arrangements for the video recorder and a court
4    reporter to be present at such hearing. To the extent deemed necessary by either side, a
5    court officer may attend the hearing for the purpose of administering the oath to the
6    witness. The deposition should be conducted in a manner provided in civil actions,
7    provided that the scope and manner of examination and cross-examination shall be such
8    as would be allowed in the trial itself.
9            The deposition shall be taken and filed in the manner provided in Rule 15 of the
10   Federal Rules of Criminal Procedure, provided that the scope and manner of examination
11   and cross-examination shall be such as would be allowed in the trial itself. The
12   Government shall make available to the defendant’s counsel for examination and use at
13   the taking of the deposition any statement of the witness being deposed which is in the
14   possession of the Government and to which the defendant would be entitled at trial.
15           IT IS SO ORDERED.
16

17           DATED this 18th day of June, 2007.



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20                                                FRANKLIN D. BURGESS
                                                  UNITED STATES DISTRICT JUDGE
21

22   Presented by:
     s/ Michael Dion
23
     MICHAEL DION
24   Assistant United States Attorney
25   s/ Jill Otake
26   JILL OTAKE
     Assistant United States Attorney
27

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     [PROPOSED] ORDER/Motion for Pre-Trial Deposition                            UNITED STATES ATTORNEY
                                                                                  601 UNION STREET, SUITE 5100
     United States v. Robertson — 2                                             SEATTLE, WASHINGTON 98101-3903
     Case No. CR06-5528FDB                                                               (206) 553-7970
